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UNITED STATES COURT OF INTERNATIONAL TRADE

 

 

xX
RKW KLERKS IN C.,
Plaintiff,
Vv.
Court No. 20-00001
UNITED STATES,
Defendant.
xX
COMPLAINT

Pursuant to the Rules of the United States Court of International Trade, Plaintiff, RK W

Klerks Inc., through its undersigned attorneys, alleges for its complaint as follows:
FIRST CAUSE OF ACTION

1. Jurisdiction of the United States Court of International Trade over the subject matter of
this civil action is invoked pursuant to 28 U.S.C. § 1581(a).

2. On November 12, 2019, Plaintiff filed protest number 1601-19-100866 via the ACE
Portal.

3. On the same date, pursuant to 19 C.F -R.§174.22, a copy of the protest was mailed via
certified mail to Anne Marie Paul, Center Director of CEE-Industrial & Manufacturing Materials
Center, U.S. Customs and Border Protection at the Port of Buffalo requesting accelerated disposition
of protest number 1601-19-100866. This request was received by CBP on November 15, 2019.

4. As of December 12, 2019, no action had been taken by Customs and Border Protection
with respect to the request for accelerated disposition. Accordingly, this protest, pursuant to 19

C.F.R.§174.22(d), was deemed denied by operation of law.

 
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5. Plaintiff has standing under 28 U.S.C. §2631, as amended, to prosecute this civil action
to contest the denial, pursuant to Section 515 of the Tariff Act of 1930 (19 U.S.C.§ 1515), of a
protest filed under Section 514 of the Tariff Act of 1930 (19 U.S.C.§ 1514).

6. Plaintiff is the importer of record of the merchandise in the entry.

7. The instant action was timely commenced, all liquidated duties having been paid before
the commencement of this action, and all other conditions precedent to the commencement of this
action having been performed or having occurred.

8. The merchandise in issue is RK W Klerks’ net wrap which is described on the commercial
invoices as TopNet, Rondotex or similar designations. The merchandise in issue is commonly
referred to as bale wrap.

9. Plaintiff’s net wrap is a finished product in its imported condition.

10. Plaintiffs net wrap has only a single use, i.e., to wrap hay or silage into bales with the
use of a hay baler.

11. At the time of importation, RWK Klerks’ net wrap’s use and identity is fixed with
certainty.

12. After importation, RWK Klerks’ net wrap is used as imported and there is no post-
importation processing or further advancement of the imported net wrap.

13. The net wrap in issue was liquidated under HTSUS subheading 6005.39.00 which
provides for “Warp knit fabric ... Other, printed” and duty paid at the rate of 10.0% ad valorem.

14. Plaintiff claims that the net wrap is properly classified under HTSUS subheading
8433.90.50 as “harvesting or thrashing machinery, including straw or fodder balers ... Parts ...

Other”, duty-free.

 
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SECOND CAUSE OF ACTION
In and for its Second Cause of Action, Plaintiff alleges as follows
15. The allegations set forth in paragraphs | through 13, supra, are repeated and incorporated
by reference as if said allegations had been set out in full.
16. Plaintiff claims that its net wrap is classified under subheading 8436.99.00 as “Other
agricultural ... machinery ... Parts ... Other,” duty-free.

17. Wrapping bales of hay or silage is an agricultural endeavor.

THIRD CAUSE OF ACTION

In and for its Third Cause of Action, Plaintiff alleges as follows:

18. The allegations set forth in paragraphs 1 through 13, supra, are repeated and incorporated
by reference as if said allegations had been set out in full.

19. Plaintiff claims that its net wrap is classified under subheading 5911.90.00 as “Textile
products and articles, for technical uses, specified in note 7 of this chapter ... other” and subject to
duty at the rate of 3.8% ad valorem.

20. The net wrap in issue is in a rectangular shape which has been wound into a roll and
wrapped in plastic in its imported condition.

21. Wrapping bales of hay or silage is performed on machines termed “balers.”

22. Wrapping bales on a bale wrapping machine is a technical use.

 
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PRAYER FOR RELIEF

WHEREFORE, Plaintiff requests judgement be entered sustaining its classification claim(s)
and directing the appropriate Customs officer to reliquidate the subject entry and refund to Plaintiff
any overpayment of duties together with interest as provided by law and for such other and necessary
relief the Court deems just and appropriate under the circumstances.

Respectfully submitted,

SIMONS & WISKIN
Attorneys for Plaintiff

“Philip Yale Simons

¢ Jeryy/P. Wiskin
102 South Broadway
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Tel: (732) 316-2300

  

Dated: January 6, 2020

 
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UNITED STATES COURT OF INTERNATIONAL TRADE

 

x
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UNITED STATES,
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xX

 

CERTIFICATE OF SERVICE

I, Philip Yale Simons, hereby state that Iam a member of the Firm of SIMONS
& WISKIN, attorneys for RK W Klerks Inc., and that on January 6, 2020, I served a
copy of the Plaintiff's Complaint in the above referenced case to:

Justin Miller, Esq.

Department of Justice

Commercial Litigation Branch - Civil Division
International Trade Field Office

26 Federal Plaza

New York, NY 10078

by depositing a copy of said complaint in a U.S. Postal Service mailbox, in a sealed
envelope, postage prepaid.

 

 
